 

Case 16-20959-EPK Doc15 Filed 08/23/16 Page 1 of 44 e

 

 

 

 

Fill in this information to identify your case: Ee
=
peviort § _LUguae? Syme Fy
Jame tinal Middie Name = Last Nafhe aioe
cr
Debtor 2 “ent
(Spouse, if filing) First Name Middle Name Last Name he a
. ry
; —_ oa
United States Bankruptcy Court for the: Sabhlged District of Fy devel mal
cane!

Case number Lb- BOGE Gg UL) Check if this stan
{if known) amended filirggy
dees

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information —= 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

 

 

 

 

 

 

 

 

 

 

 

 

 

' Your assets
Value of what you own
4. Schedule A/B: Property (Official Form 106A/B) . :
1a. Copy line 55, Total real estate, from Schedule A/B .............c ce ceeccesceececeeceeceee cece ceeneeesaecaeeeneeceeecanescersseeaesecanenseeseneseeeeanes $ 4.200, 000.00 ‘
1b. Copy line 62, Total personal property, from Schedule A/B............ccccccceesssesssessseessscesnecessecesecensesstsestsscsnesesecsnsecensecanecensess $ 2A, 500-00 i
. |
1c. Copy line 63, Total of all property on Schedule A/B ...............ccsscscescctsceseeeeeeesesese teen nese neessenessenseeaepacesessenaesansassaniaseeneeense $ j 2 op
Summarize Your Liabilities
Your liabilities.
Amount you owe oO
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D) f be w, O00:
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) CO
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/PF 0.0.00... cece eeeceeeeee $
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......... 0... cece + 5 Pr

 

 

 

 

Your total liabilities $ 4520.00 00

 

 

Summarize Your income and Expenses

 

 

_ 4. Schedule I: Your Income (Official Form 106!)

: Copy your combined monthly income from line 12 of Schedule | ....................:c cc ceeeceeeesces ene ee ea ceeeesen eens coeseessesseseeneeneeeenents $ 2000.)
5. Schedule J: Your Expenses (Official Form 106J)

: Copy your monthly expenses from line 22c of Schedule J -........ceescececetetseeeseeeeecneneeneneeresansestnecsasenansessesenseersaneneenesneaeaes $ SSE

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

 
 

Case 16-20959-EPK Doc15 Filed 08/23/16 Page 2 of 44

Debtor 1 Case number (if known)
First Name Middle Name Last Name

tie Answer These Questions for Administrative and Statistical Records

 

: 6. Are you filing for bankruptcy under Chapters 7, 11, or 137

W No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
Yes

 

‘ 7. What kind of debt do you have?

W Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

C) Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

8. From the Statement of Your Current Monthly income: Copy your total current monthly income from Official

Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 4.c20 ( 8)

 

 

 

_ 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

Total claim

From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) s OF
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) s___{4
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) s (A

Qd. Student loans. (Copy line 6f.) se

9e. Obligations arising out of a separation agreement or divorce that you did not report as $ eQ
priority claims. (Copy line 6g.)

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +¢ ( j
9g. Total. Add lines 9a through 9f. $ Qi

 

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

 
* Case 16-20959-EPK Doc15 Filed 08/23/16 Page 3 of 44

Fillin thes information to identify your case and this filing:

Debtor 1 A U6. aS Symone abe

Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: SnlHGea District of Hon ale
Case number [f- AOS PEK
1 Check if this is an

amended filing

 

  

 

Official Form 106A/B
Schedule A/B: Property 1245

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the-
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

lamb Describe Each Residence, Building, Land, or Other Reali Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property? \
LI No. Go to Part 2.
LJ Yes. Where is the property?
W's is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
Single-family home the amount of any secured claims on Schedule D:

11, 3820 Wh {66 SF

LJ Duplex or multi-unit building Creditors Who Have Claims Secured by Property.

 

 

 

Street address, if available, or other description . .
LJ Condominium or cooperative Current value of the Current value of the
LJ Manufactured or mobile home entire property? portion you own?
: Cl Land ~  s ¥YND Mn. s
' . A. Zz LJ Investment property
LUE Li- ZL) © Timeshare Describe the nature of your ownership
City State ZIP Code © other interest (such as fee simple, tenancy by

 

the entireties, or a life estate), if known.
Who has an interest in the property? Check one.

Line. To ©} Debtor 1 only

County U) Debtor 2 only

(J Debtor 1 and Debtor 2 only = Check if this is community property
(see instructions)

 

LJ} At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

If you own or have more than one, list here:

. t is the property? Check all that apply. Do not deduct secured claims or ex ‘ons. Put
wf ~ Singie-famity home the amount of any secured claims on Schedule D:
1.2. LURID St) SF PHA ! ——____- () Duplex or multi-unit building Creditors Who Have Claims Secured by Property.
Street address, if available, or other description . .
1 Condominium or cooperative Current value of the Current value of the
{J Manufactured or mobile home entire property? portion you own?

 

UJ Land $2, 20, G00. 00 $
: 1
May fi. CS, VA LL oO treme property Describe the nature of your ownership

City , State ZIP Code interest (such as fee simple, tenancy by
C) other the entireties, or a life estate), if known.

Who has an interest in the property? Check one.
‘ , UI Debtor 1 only
1 a (J Debtor 2 only
LL) Debtor 1 and Debtor 2 only : LJ Check if this is community property
{} At least one of the debtors and another (see instructions)

 

 

Other information you wish to add about this item, such as local
property identification number:

 

Official Form 106A/B Schedule A/B: Property page 1

 

 
 

 

Case 16-20959-E
MRE DY 110

Name

Debtor 1

First Name Middle Name

13 AIA0 ME get pv.

Street address, if available, or other description

 

 

 

Q Lana $30 p6p-00 $
‘ FA Lee, Lea . z LJ investment property ; ;
City State. ziPCode ) Timeshare Describe the nature of your ownership
Q interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.
eel Who has an interest in the property? Check one.
ffcows C3 Debtor 1 only
unty (2 Debtor 2 only
(J Debtor 1 and Debtor 2 onty Q Check if this is community property
(J At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for ail of your entries from Part 1, including any entries for pages by LQ 600
you have attached for Part 1. Write that number here. ...............000.000cccccccccesccescecstecesecesecesscesssersecessenneasssecsneens > | vege

Ee Describe Your Vehicles

is the property? Check all that apply.
WL cngetnn home

Q Duplex or multi-unit building

(J Condominium or cooperative

(J Manufactured or mobile home

 

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whe Case number (i known), Li 2008S

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

 

 

 

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

No
C2 Yes

3.1. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

If you own or have more than one, describe here:

3.2. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

Official Form 108A/B

Who has an interest in the property? Check one.
LJ Debtor 1 only

(2 Debtor 2 only

(2 Debtor 1 and Debtor 2 only

(} At least one of the debtors and another

(J Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
OQ) Debtor 1 only

(2 Debtor 2 only

C2 Debtor 1 and Debtor 2 only

(} At feast one of the debtors and another

LI Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ pul A $ tuff

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

5 wl $

page 2
 

Case 16-2
Debtor 1 WAVE

First Name Middle Name

3.3, Make: ih

Model:
Year:
Approximate mileage:

Other information:

ynawatt

 

 

 

 

3.4. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

Who has an interest in the property? Check one.

©) Debtor 4 only

LY Debtor 2 only

C3 Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

CJ Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

C3 Debtor 1 only

C2 Debtor 2 only

(C} Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

(J Check if this is community property (see
instructions)

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Case number (if known,

ROUGE

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

s_lv}h $

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

s_Ma $

4, Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

LJ No
LJ Yes

4.1, Make:
Model:
Year:

Other information:

 

|

i

 

 

if you own or have more than one, list here:
4.2. Make: Ai

Model:

Year:

Other information:

 

 

 

 

Who has an interest in the property? Check one.

©) Debtor 1 only

LI] Debtor 2 onty

C) Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

C} Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

C) Debtor 1 only

©) Debtor 2 only

(3 Debtor 1 and Debtor 2 only

(} At least one of the debtors and another

(} Check if this is community property (see
instructions)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

wp .

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Mn .

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages

you have attached for Part 2. Write that number here

Official Form 106A/B

Schedule AJB: Property

page 3

 

 
 

 

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1b 30969

 

 

Debtor 1 Miviice Yan) ¢ Case number (i known)
First Name Middle Name L&st Name
izcieeeue Describe Your Personal and Household items

 

Do you own or have any legal or equitable Interest in any of the following items?

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

 

Pome |
WeS, DOSEN | fords 7h BLE IT Crlnet,  SoF as Dearoes Hens

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

 

Wye
Yes. Describe..........

 

s O00.

Cc
Oo

 

 

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ve Cunpubées F CKtl Phone Camern$ Sisik es

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

 

ap
Yes. Describe.......... | (i, ol ros 4 PA whone

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

¢ 200.00

 

 

G1 Yes. besos
Yes. Describe.......... Poo ( Th, b ho

 

$ Fo 00. QO

 

 

10. Firearms
mes Pistols, rifles, shotguns, ammunition, and related equipment
No

 

‘

C) Yes. Describe. .........
ANE
11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

 

 

LI Wo
W ves Describe.......... | Vawts, Hicks , SHO, Conts

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver

 

La No
bd Yes. Describe.......... | W r+ 7
13. Non-farm animals

~. Dogs, cats, birds, horses
N

0

 

 

CJ Yes. Describe..........

 

 

 

14. Any other personal and household items you did not already list, including any health aids you did not list

no

 

CL} Yes. Give specific
information. .............

 

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that mumber Were o.oo. ccc cc ccececessseeneeseeseesvessseseceseenseaesneesecevessessseesesaeesessatiseseesesteersesessaseateseeseaneenses

Official Form 106A/B Schedule A/B: Property

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page 4

 
 

 

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Debtor 1 —_ MVC ioe Sy rnoner Case number (known)

First Name Middie Name 7 Last Name

 

Ea Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims
or exemptions.
16.Cash

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

No

17.Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.

i i /-- Institution name:

17.1. Checking account: [J | A $ La

17.2. Checking account: fl i A SO
17.3. Savings account: a lg $ LO

17.4. Savings account: Lyf 4 $ ao

17.5. Certificates of deposit: Lu, A $ ea

17.6. Other financial account: Wy) H $ 7
17.7. Other financial account: hit Kk $ eT

ry ;
17.8. Other financial account: / L Us, y Hf $s
17.9. Other financial account: L if Ah s___ er

 

 

 

 

 

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

OD Yes. Institution or issuer name:

Why oo

w/t s__()-
AYA $

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

 

No Name of entity: % of ownership: /
() Yes. Give specific 0% % $ ay
information about oY
TL ° % $
0% % $

 

Official Form 106A/B Schedule A/B: Property page 5

 
 

 

 

 

 

 

 

 

 

Wiorite,

First Name

Debtor 1

Middle Name Last Name

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y

Case number (i known)

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

a

LJ Yes. Give specific
information about

Issuer name:

Dh

[£209 s¢

 

21. Retirement or pension accounts

Ah

~ Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
No

Q) Yes. List each
account separately. Type of account:

401(k) or similar plan:
Pension plan:

IRA:

Retirement account:
Keogh:

Additional account:

Additional account:

22. Security deposits and prepayments

Institution name:

ML,

LU / 4

Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications

nn or others
No

Electric:

Gas:

Institution name or individual:

AL
}

A

A

i“

 

Heating oil:
Security deposit on rental unit:
Prepaid rent:

Telephone:

|
|
|

 

Water:

Rented furniture:

|
f
|

 

Other:

7 A

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

Issuer name and description:

 

 

 

Official Form 106A/B

Schedule A/B: Property
 

 

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Debtor 4 Lh de — & CL & Case number (known), ] b-al OSG

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

w/a
ALA
wf A

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers

_ for your benefit
No

preemie enenemnnee bee a eevee cen vee

Q] Yes. Give specific
information about ther... hv / 7

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
“ee Intemet domain names, websites, proceeds from royalties and licensing agreements
No

 

LL] Yes. Give specific
information about them... A f- / A |
v

f

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

Pio
C) Yes. Give specific ; fe
information about them.....! / \ iy :$§ IZ,
i 7 4

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

 

 

28. o owed to you
No

) Yes. Give specific information

| Gf
Federal:
about them, including whether | ore $
4

 

you already filed the returns State: $ GG
and the tax years. .......0.0.. A ) /A ~ Locat $ iy
— 74

 

29. Family support
~ Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
No

| Alimony: $ 2
Maintenance: $ BY
| Support: $ 2

Divorce settlement: $ Z
/ UV (a Property settlement: $.
30. Other amounts someone owes you l

Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
i Social Security benefits; unpaid loans you made to someone else
No

 

LJ Yes. Give specific information..............

 

 

L) Yes. Give specific information...............

| a +

Official Form 106A/B Schedule A/B: Property page 7

 
 

. Case 16-20959-EPK Doc15 Filed 08/23/16 Page tons :
Debtor 1 Mkatice ym Case number (inown) ~ AOY GY

First Name Middie Name / Last Name

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance
No

CJ Yes. Name the insurance company

: oe Beneficiary: Surrender or refund value:
of each policy and list its value. ...

pip . G
‘ $ DF
Lx

Company name:

 

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

No
(C) Yes. Give specific information. .............

 

$ 43

 

a
7
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
a Accidents, employment disputes, insurance claims, or rights to sue
N

10

(J Yes. Describe each claim. .................. iy Vi

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights

oe off claims
No
QJ Yes. Describe each claim. 0... | hv /
A $ ia

 

S

 

 

 

35. Any,financial assets you did not already list

No f
QQ) Yes. Give specific information.......... jf ha $

 

8

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that mumber Were o.oo... cece cesses sessssesssssecesssesesssceessseseessnesarstsesssesecssevscevansessanieessussssiisessccnenecsnueesseaee > $

q

 

 

 

| part s: Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37. Y own or have any tegal or equitable interest in any business-related property?
No. Go to Part 6.
C0 Yes. Go to line 38.

 

 

 

Current value of the
portion you own?
Do not deduct secured claims
or exemptions.
38. nn, receivable or commissions you already earned
No
ee
U Yes. Describe.......
| 8
39. Office equipment, furnishings, and supplies
on Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
No ne
C) Yes. Describe......; 5

 

Official Form 106A/B Schedule A/B: Property page 8

 
.

 

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Debtor 4 ted ? — HAD ish Case number (known) “hea GES

40. m~ fixtures, equipment, supplies you use in business, and tools of your trade
No

U Yes. Describe......!

 

 

41. tyeftor
No ;
i

Q] Yes. Describe...

 

 

42. oe in partnerships or joint ventures
No

() Yes. Describe....... Name of entity: % of ownership:

%
%

 

%
43. an lists, mailing lists, or other compilations
No

LJ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
LJ] No

 

C) Yes. Describe........|

 

1+ Any fusiness related property you did not already list
No

C] Yes. Give specific

 

information .........

 

 

 

FFF FF Ff H

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached

for Part 5. Write that mumber Were oo... ccc cece ccsccesccccescccaneceesecaescssesassnscaesesccrevarsanssitecessecsneseessecesseetseeissicsopseeseteeseenesoese® >

If you own or have an interest in farmland, list it in Part 1.

 

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.

 

 

46. we own or have any legal or equitable interest in any farm- or commercial fishing-related property?

No. Go to Part 7.
] Yes. Go to line 47.

47. Farm animals
ae Livestock, poultry, farm-raised fish
N

oO

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

 

A

 

Official Form 106A/B Schedule A/B: Property

page 9

 
Case 16-20959-EPK Doc15 Filed 08/23/16 Page 12 9f 44
Debtor 1 ma YICk. Svmowe Case number (i known) / 6 -20 9679

First Name Middle Name. frst Name

ua quail growing or harvested
No

2 Yes. Give specific
information. ............

 

49. oO. and fishing equipment, implements, machinery, fixtures, and tools of trade
No

 

 

 

 

51. Any farm- and commercial fishing-related property you did not already list
No

UO) Yes. Give specific |
information. ............ ;

 

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ Oo
for Part 6. Write that number here oo... ccc ccccceecccsscccsssseessvescessecssssssecssuseessnecsrsucesessuiessnsecessavsstsuteesssesersstvesiseusesssttesnesceseeaes >

 

 

 

Describe All Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

No \

L) Yes. Give specific |

information. ............ i $

 

j :
\

 

54. Add the dollar value of all of your entries from Part 7. Write that number here o.oo... ee cece ee esnteeceneneenens > s

 

 

 

List the Totals of Each Part of this Form

 

55. Part 1: Total real estate, lime 2... cc ccccccceccccccceccscececscocscovsssecsssssucssvessvessvescecsusssseevucssuvanussnassouseusecavestvssucecuseeaearsecssrceusesuesneeseeeeneeasves > G 2

56. Part 2: Total vehicles, line 5 $ 2a

57.Part 3: Total personal and household items, line 15 $_ Ady $00, 00
58. Part 4: Total financial assets, line 36 $ v4,

59. Part 5: Total business-related property, line 45 $ g

60. Part 6: Total farm- and fishing-related property, line 52 $ GF

61. Part 7: Total other property not listed, line 54 +s a

62. Total personal property. Add lines 56 through 61. .................... $ 22, 900-00 Copy personal property total > +3$ 2 2 El: Ll

 

 

 

63. Total of all property on Schedule A/B. Add line 55 + line 62. .....c.c.ccscsscccsssssssssscssesesseesvssssessecesessesenesnssneseuninneeeee $ 02%, £00.00

 

 

 

Official Form 106A/B Schedule A/B: Property page 10
Case 16-20959-EPK Doc15 Filed 08/23/16 Page 13 of 44

Fill in this information to identify your case:

Debtor 1 A UL) CE Sy. ‘tener: C

‘Name 7 ~ LastName

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Saale District of ploidy ;
Case number / 6 -Q ASP UJ Check if this is an

(If known) amended filing

 

 

  

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement furids—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dolfar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

 

 

 

identify the Property You Claim as Exempt

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

(2 You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
(You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Brief
description: $ Os
Line from (2 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: § Os
Line from LJ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $. Os
Line from CJ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

No
C) Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

EY No
Q) Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of __

 
Case 16-20959-EPK Doc15 Filed 08/23/16 Page 14 of 44
Debtor 4 Miponee Sian ade Case number (it known L 6-20967F

First Name Middle Name lame

ba Additional Page

Brief description of the property and line
on Schedule A/B that lists this property

Current value of the Amount of the exemption you claim Specific laws that allow exemption
portion you own

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Copy the value from Check only one box for each exemption
Schedule A/B
Brief
description: $ Os
Line from (2 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from LJ 100% of fair market value, up to
Schedule A/B:._ ———— any applicable statutory limit
Brief
description: $ Lig
Line from C2 100% of fair market value, up to
Schedule A/B: ~—_ any applicable statutory limit
Brief
description: $ Os
Line from C2 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Lg
Line from CJ 100% of fair market value, up to
Schedule A/B: —— any applicable statutory limit
Brief
description: $ Os
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Ls
Line from C} 100% of fair market value, up to
Schedule A/B: ———— any applicable statutory limit
Brief
description: $ Ls
Line from C 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Ls
Line from C2 100% of fair market value, up to
Schedule A/B: ——— any applicable statutory limit
Brief
description: $ Ls
Line from C2 100% of fair market value, up to
Schedule A/B: ~— any applicable statutory limit

Official Form 106C

Schedule C: The Property You Claim as Exempt

 

 

 

 

 

 

 

 

 

 

 

 

page 2 of __

 
 

Case 16-20959-EPK Doc15 Filed 08/23/16 Page 15 of 44

 
  

Fill in this information to identify your case:

 

 

Debtor 1 NAUKICE Si VIO eff
First Name 7 LastNamé

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Soottheayy District of ( -
Case number [6-2O0SG

(If known) (J Check if this is an
: amended filing

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 412115

Be as complete and accurate as possible. If two married people are filing together, both are equaily responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

 

4. Do any creditors have claims secured by your property?
LY No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
Yes. Fill in all of the information below.

List All Secured Claims

Column A Column B Column C

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately amount ofclaim. Value of collateral Unsecured.
for each claim. If more than one creditor has a particular claim, list the other creditors in Part2. po not deduct the. that supports this_portion
As much as possible, list the claims in alphabetical order according to the creditor's name. value of collateral, claim if any

 

Po (yes ase han [/ Describe the property that secures the claim: $. $ MWh, Logl)
Creditor's Néme

F Bid, & lye, Pao S0mnings Pool
O Boe 10057 ww lea Frawt Propnaty

Number Street

 

 

 

 

As of the date you file, the claim is: Check all that apply.

 

QO Contingent
SC: OW - OF %6 OC) Wniiquidated

City tate ZIP Code Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
W Debtor 4 only (J An agreement you made (such as mortgage or secured
Q) Debtor 2 only car foan)
Q Debtor 1 and Debtor 2 only Q Statutory lien (such as tax lien, mechanic’s lien)
() Atleast one of the debtors and another (2 Judgment lien from a tawsuit

(2 Other (including a right to offset)
(J Check if this claim relates to a

community debt
Date debt was incurred Last 4 digits of account number Ss 6 J F_

[22] ) bn ; 4 CHeré bn uid Describe the property that secures the claim: $ $ t,o. $
: Creditor’s Nam

Bot, Saimrsny Pook
20. fox 3/40 adtoom S |
Number Street also wy desl pont Crop sat

As of the date you file, the clalm is: Check all that apply.
Q Contingent

?, hoeny A Z.  ¥5042 iC) Antuiated
D

 

 

 

City State ZIP Code isputed

Who owes the debt? Check one. Nature of lien. Check all that apply.

Q) Debtor 1 only (2 An agreement you made (such as mortgage or secured
() Debtor 2 only car loan)

() Debtor 1 and Debtor 2 only QQ) Statutory lien (such as tax lien, mechanic's lien)

Q) Atteast one of the debtors and another (Judgment lien from a lawsuit

(Other (including a right to offset)
Q Check if this claim relates to a
community debt

Date debt was incurred Last 4 digits of account number _2_ q 3. yy
Add the dollar value of your entries in Column A on this page. Write that number here: p———___ |

 

Official Form 106D Scheduie D: Creditors Who Have Claims Secured by Property page 1of___

 
 

Case 16-20959-EPK Doc15 Filed 08/23/16 Page 16 of 44
Debtor 1 S\ HK Case number (known) SL4 -~BO2ST-

‘irst Name Middle Name Name

 

 

Additional Page Column A Column BB. ) .. -Columna C

: : : wo Amount of claim — Value of collateral Unsecured
After listing any entries on this page, number them beginning with 2.3, followed Do not deduct the that supports thie portion

by 2.4, and so forth.

   
 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

value of collateral. claim ffany
omparien’ fi 0 Describe the property that secures the claim: $ $ 300,00. QO $
Creditor's Name
Levkiyptey tsp.
Number Street
(0. Le _ 939 D028 SA ff. shove
Oe 130K. 7 As of the date you file, the claim is: Check all that apply.
. 07, C) Contingent
City ALA a ZIP Code C)_untiquidated
Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
CJ Debtor 4 only {} An agreement you made (such as mortgage or secured
CQ) Debtor 2 only car loan)
Q) debtor 4 and Debtor 2 only {2 Statutory lien (such as tax lien, mechanic’s lien)
C2 Atleast one of the debtors and another QJ Judgment fien from a lawsuit
(2 Other (including a right to offset)
C) Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number J Y 2 o
LI Describe the property that secures the claim: $__4£00,0y0. 0? $ $
“Ath Name f- ae
Abbru faushe G Bid tov Phouss , ¥ WON,
Number ” Street SWun ming fe A itechedw M90.
/ 606. Ww Eloricls A Ve. As of the date you file, the claim is: Check all that apply.
= (Contingent
/ Pun 8, fla 32602 1 piniiquidated
City 5 i q- 329- 0960 State ZIP Code Disputed
Who owes the debt? Check one. Nature of lien. Check ail that apply.
CI Debtor 1 only C) An agreement you made (such as mortgage or secured
C) Debtor 2 only car loan)
CJ Debtor 1 and Debtor 2 only {) Statutory lien (such as tax lien, mechanic's lien)
CJ Atiteast one of the debtors and another (J Judgment tien from a lawsuit
Cl check if this claim relates to a C2 other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of accountnumber_
L_] Describe the property that secures the claim: $ $ $

 

 

Creditor's Name

 

 

 

 

 

 

Number Street
As of the date you file, the claim is: Check ali that apply.
Q) Contingent
City State ZIP Code Q) Unliquidated
Q) Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C) Debtor 1 only CJ An agreement you made (such as mortgage or secured
C) Debtor 2 only car loan)
CJ Debtor 1 and Debtor 2 only J Statutory fien (such as tax lien, mechanic's tien)
CI Atleast one of the debtors and another QJ Judgment tien from a lawsuit

C2 Other (including a right to offset)
C) Check if this claim relates to a

community debt

Date debt was incurred Last 4 digits of account number

Add the dollar value of your entries in Column A on this page. Write that number here:

If this is the last page of your form, add the dollar value totals from ail pages.
_.. Write that number here: |

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page__ of

 
Case 16-20959-EPK Doc15_ Filed 08/23/16

Fill in this information to identify your case:
Synegete

_ Mp ee
Last Name

First Name

Page 17 of 44

 

Debtor 1
Middle Name

Debtor 2

 

(Spouse, if filing) First Name
United States Bankruptcy Court for the: Sot heuhs District of </or7evj
Lb - OOPS9

Middle Name Last Name

CJ Check if this is an

Case number amended filing

(If known)

 

 

 

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result ina claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. |f more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

ee ust All of Your PRIORITY Unsecured Claims

1.

 

Do any creditors have priority unsecured claims against you?

No. Go to Part 2.

 

 

 

 

 

 

 

 

 

 

 

| Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. if a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
Total claim Priority Nonpriority_;
amount amount
2.1
Last 4 digits ofaccountnumber_ si $. $.
Priority Creditor’s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
City State Zi Code 1 Contingent
. (] unliquidated
Who incurred the debt? Check one. 0 pis puted
C) Debtor 1 only
(2 Debtor 2 only Type of PRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only ©) Domestic support obligations
At least one of the debtors and another () Taxes and certain other debts you owe the government
Cd Check if this claim is for a community debt QJ Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
OC) No {) other. Specify
Q Yes
2 | Last 4 digits ofaccountnumber = sg $ $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check ali that apply.
Q Contingent
City State ZIP Code 2 unliquidated
Who incurred the debt? Check one. Q) Disputed

Official Form 106E/F

 

 

 

Q) Debtor 4 only

QC) Debtor 2 only

C2 Debtor 1 and Debtor 2 only

() At least one of the debtors and another

QJ Check If this claim is for a community debt

Is the claim subject to offset?
( No

Yes

Schedule E/F: Creditors Who Have Unsecured Claims

 

 

Type of PRIORITY unsecured claim:
QO) Domestic support obligations
() Taxes and certain other debts you owe the government

2 Claims for death or personal injury while you were
intoxicated

(2 other. Specify

 

page 1 of____
Debtor 4

Mbvece ©2S° 16- S09 ree.

First Name Middle Name / Last Name

aes us All of Your NONPRIORITY Unsecured Claims

3. ned creditors have nonpriority unsecured claims against you?

Doc 15 Filed 08/23/16 . Page

YEN TF

Case number (# known)

No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. if a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

I]

 

 

 

 

Last 4 digits of account number___

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Nonpriority Creditors Name $
When was the debt incurred?
Number Street
City State ZIP Code As of the date you fille, the claim is: Check all that apply.
C) Contingent
Who incurred the debt? Check one. () unliquidated
C] Debtor 4 only OQ Disputed
CJ Debtor 2 only
(2 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C) At least one of the debtors and another © student loans
O Check if this claim is for a community debt OQ Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? (J Debts to pension or profit-sharing plans, and other similar debts
2 No C2 other. Specify
QO) Yes
4.2 Last 4 digits of accountnumber_ $
: Nonpniority Creditors Name When was the debt incurred?
Number Street
| As of the date you file, the claim is: Check all that apply.
City ° iP contingent
Who incurred the debt? Check one. Q) unliquidated
2 Debtor 1 only C2 disputed
C) Debtor 2 on!
UO bebtor 1a " Debtor 2 only Type of NONPRIORITY unsecured claim:
C) At least one of the debtors and another ( Student loans
| OQ Obligations arising out of a separation agreement or divorce
C2 Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? {2 Debts to pension or profit-sharing plans, and other similar debts
DO no () other. Specify
C) yes
4.3
Last 4 digits ofaccountnumber $
Nonpriority Creditors N
onprionty Creditors Name When was the debt incurred?
Number Street
i is: il .
tiy Suis ZiP Gode As of the date you file, the claim is: Check all that apply.

Who incurred the debt? Check one.

{) Debtor 4 only

Q) Debtor 2 only

CJ Debtor 1 and Debtor 2 only

() At least one of the debtors and another

C) Check if this claim is for a community debt

is the claim subject to offset?
No
C) yes

Official Form 106E/F

U Contingent
OQ) untiquidated
Q) Disputed

Type of NONPRIORITY unsecured claim:

Q) Student loans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

U2 Debts to pension or profit-sharing plans, and other simitar debts

C2 other. Specify

 

Schedule E/F: Creditors Who Have Unsecured Claims

 
 

ows Mance °° 80a eff Doc 1s Filed 08/23/16, Page oI67O7

List Others to Be Notified About a Debt That You Already Listed

 

_ §. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. if you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): OO Part 1: Creditors with Priority Unsecured Claims
Number Street O) Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits ofaccountnumber_
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): 0) Part 1: Creditors with Priority Unsecured Claims
Number Street OQ) Part 2: Creditors with Nonpriority Unsecured
Claims
- Last 4 digits of accountnumber
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): ) Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber_—
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): UO) Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
- Last 4 digits of accountnumber
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): C) Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street QC) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber_
City State ZIP Code
5 On which entry in Part 1 or Part 2 did you list the original creditor?
ame
Line of (Check one): OQ Part 1: Creditors with Priority Unsecured Claims
Number Steet (J Part 2: Creditors with Nonpriority Unsecured
Claims
City State ZIP Code Last 4 digits of account number

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims page ___ of

 
 

Debtor 1 M ying CASE 16-265 pido Doc 15 Filed 08/23/16 nd AIS apgai G41 5a

ielee-we Add the Amounts for Each Type of Unsecured Claim

 

: 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.

Add the amounts for each type of unsecured claim.

Total claim

Total claims 6a. Domestic support obligations 6a. $ wv IK
from Part 1

6b. Taxes and certain other debts you owe the

government 6b. $ { A -

6c. Claims for death or personal injury while you were

intoxicated 6c. $ ’ | |

6d. Other. Add all other priority unsecured claims.

Write that amount here. 6d. 4 $ 0)

 

6e. Total. Add lines 6a through 6d. 6e.

 

 

 

Total claim

Total claims 6f. Student loans 6f. $ O

 

 

 

 

from Part2 64 Obligations arising out of a separation agreement
or divorce that you did not report as priority
claims 6g. $ C )
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. $ CC )
6i. Other. Add ali other nonpriority unsecured claims.
Write that amount here. Gi. +s C )
6j. Total. Add lines 6f through 6i. Gj.
$ { )
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims

page__of____

 
 

Case 16-20959-EPK Doc15 Filed 08/23/16 Page 21 of 44

Fill in this information to identify your case:

Debtor tie g

‘irst Name Middle Name

Debtor 2
{Spouse If filing) First Name Middie Name

United States Bankruptcy Court for the: Sidbhlyy District of FL.
Case number Z b- OF, Sof

(If known)

 

L] Check if this is an
amended filing

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

1. Do ypu have any executory contracts or unexpired leases?
G2’No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
CJ Yes. Fill in alt of the information below even if the contracts or leases are listed on Schedule AB: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

2.1

 

Name

 

Number Street

 

City State ZIP Code

22

 

Name

 

 

 

Number Street

 

_Eiy eveeeemerno Ne LIP COE com

 

2.3

 

Name

 

Number Street

 

wn CO a en ee rn SE LUE CO
2.4

 

Name

 

Number Street

 

EY ie ane vanessa RO IP COE cee ssae sian tinny coup osama nna niga nate a

 

' Name

 

Number Street

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of
Case 16-20959-EPK Doc15 Filed 08/23/16 Page 22 of 44

  
    
  

Fill in this information to identify your case:

Debtor 1 Mavuce

First Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: 54 ot WOE District of EL -
Case number 167 LYONS

 

 

 

 

 

{it known) QO) Check if this is an
amended filing
Official Form 106H
Schedule H: Your Codebtors 1245

 

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. !f two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,

and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

(2 No
(2 Yes

' 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
: Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

LJ No. Go to line 3.

J Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

LJ No

Q) Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Check ali schedules that apply:
3.1
(2 Schedule D, line
Name
Q) Schedule E/F, line
Number Street QO) Schedule G, line
City " State ZIP Code
3.2
(3 Schedule D, line
Name
Q) Schedule E/F, line
Number Street C2 Schedule G, line
City State ZIP Code
3.3
C2 Schedule D, fine
Name
C} Schedule E/F, line
Number Street C2 Schedule G, line
Ciy__. " State ZIP Code

Official Form 106H Schedule H: Your Codebtors pagelof_

 
 

Case 16-20959-EPK Doc15 Filed 08/23/16 Page 23 of 44

Fillin this information to identify your case:

Debtor 1 Mgunre

First Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Sow _ District of _A/Z L.
Case number / 6-LOF cS Check if this is:

(If known)
U) An amended filing

UC) A supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 MM 7 DD/ YYYY

Schedule I: Your Income 12115
Be as complete and accurate as possible. tf two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.

if you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

| part 1: | Describe Employment

1. Fill in your employment

 

 

 

 

 

 

information. Debtor 1 Debtor 2 or non-filing spouse
{f you have more than one job,

attach a separate page with

information about additional Employment status wo UO Employed

employers. jot employed LJ Not employed

Include part-time, seasonal, or
self-employed work.
Occupation

 

Occupation may include student
or homemaker, if it applies.

Employer’s name

 

Employer's address

 

Number Street Number Street

 

 

 

City State ZIP Code City State ZIP Code

How long employed there?

Give Details About Monthiy Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

{f you or your non-filing spouse have more than one employer, combine the information for ail employers for that person on the lines

below. If you need more space, attach a separate sheet to this form.

 

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

 

deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ oy $
3. Estimate and list monthly overtime pay. 3. +$ 3 + $
4. Calculate gross income. Add line 2 + line 3. 4. $. Q $

 

 

 

 

 

Official Form 1061 Schedule I: Your Income page 1

 
Case 16-20959-EPK

Swmewette

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Mayick Case number tttoom — fl & AO? SF

 

 

 

Debtor 1
First Name Middle Name st Name
For Debtor 1 For Debtor 2 or
-hon-filing spouse _
Copy bine 4 Were... acc cece cece ceeecceeessneenecscusereceseeeneesseeesetieeeesseneseesersees a4 3 QG $

5. List all payroll deductions:

 

5a. Tax, Medicare, and Social Security deductions Sa. $ & $.
5b. Mandatory contributions for retirement plans 5b. § 2 $
5c. Voluntary contributions for retirement plans Sc §$. a $
5d. Required repayments of retirement fund loans 6d. §$ B $
5e. Insurance 5e. $F $
5f. Domestic support obligations 5f. $ og $
5g. Union dues 5g. S__7 $
5h. Other deductions. Specify: 5h. +$ yd + $
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e+5f+5g+5h. 6. $ a $

7. Caiculate total monthly take-home pay. Subtract line 6 from line 4. 7.

8. List all other income regularly received:

8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $
monthly net income. 8a.

8b. Interest and dividends 8b.

8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

include alimony, spousal support, child support, maintenance, divorce $ a $

settlement, and property settlement. 8c.
8d. Unemployment compensation 8d. $y $
8e. Social Security 8e. § (aA $

 

 

 

 

 

 

 

 

8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Suppiemental
Nutrition Assistance Program) or housing subsidies.
Specify: FHA $

8g. Pension or retirement income 8g. $ £ $

8h. Other monthly income. Specify: 8h. +$ A +$

9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h. 9. $ Th $.
10. Calculate monthly income. Add line 7 + line 9. _ ea
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. so + $ i; k

 

 

 

 

 

11. State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specity: Ly hve in Gu Fiend Gees me Pane AVE nal 11.+ $2000. 00

. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies sgl0pp - 00 _
Combined

monthly income

 

12.

 

 

 

13. Do you expect an increase or decrease within the year after you file this form?

oe x denote _tdwow

LJ Yes. Explain:

 

 

 

 

Official Form 106! Schedule |: Your Income page 2

 
 

Case 16-20959-EPK Doc15 Filed 08/23/16 Page 25 of 44

Fill in this information to identify your case:

 

Deb (
ebtor 4 Li illite Syanwwenlfe Check if this is:

Debtor 2 .
{Spouse, if filing) First Name Middle Name Last Name QO An amended filing

J A supplement showing postpetition chapter 13
United States Bankruptcy Court for the: Sobiheay District of EZ : expenses as of the following date: chapter
Case number L t ~o OFSS

{If known)

 

MM / DD/ YYYY

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 

Part 1: Describe Your Household

1. Is this a joint case?

 

 

 

 

 

 

 

No. Goto line 2.
C) Yes. Does Debtor 2 live in a separate household?
L} No
(J Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?
y pe Ko Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and Cl Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent...................6
' CJ No

Do not state the dependents oO

names. Yes
LJ No
C] Yes
(J No
C] Yes
td No
Cl Yes
L No
C) Yes

3. Do your expenses include ue No
expenses of people other than

yourself and your dependents? Yes

oe Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule /: Your Income (Official Form 1061.) Your expenses
4. The rental or home ownership expenses for your residence. Include first mortgage payments and $ by
any rent for the ground or lot. 4.

if not included in line 4:

4a. Real estate taxes 4a. $ DQ
4b. Property, homeowner's, or renter’s insurance 4b. $ Q

4c. Home maintenance, repair, and upkeep expenses 4c. $ i eye
4d. Homeowner's association or condominium dues 4d. $

Official Form 106J Schedule J: Your Expenses page 1

 
 

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fanviice Syamucthe

 

Debtor 1

Middle Name 7 vast Name
5. Additional mortgage payments for your residence, such as home equity loans
6. Utilities:

10.
it.

12.

13.

14,

15.

18.

19.

20.

Official Form 106J

6a. Electricity, heat, natural gas

6b. Water, sewer, garbage collection

6c. Telephone, cell phone, Internet, satellite, and cable services
6d. Other. Specify:

 

. Food and housekeeping supplies

Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books
Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

Installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other. Specify:
17d. Other. Specify:

 

 

Case number (i known) LEROPOP

Your expenses

, sf

6a.
6b.

6c.

10.

41.

12.

13.

14.

15a.
15b.
15¢.

15d.

16.

17a.
17b.
17¢.

17d.

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule /, Your Income (Official Form 1061).

Other payments you make to support others who do not live with you.
Specify:

 

18.

19.

Other real property expenses not included in lines 4 or 5 of this form or on Schedule f[: Your income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowners, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Schedule J: Your Expenses

20a.
20b.
20c.
20d.

20e.

$__ 5. OO

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$ i

$ 30.00
$20.00
$ ex

$ 200.00

$ 50-00

$ et
Case 16-20959-EPK Doc15 Filed 08/23/16 Page 27 of 44

Debtor 1 (102 } ¢ Case number (itknown) / b ~ a GY bF

Jame Middle Name Name

 

21. Other. Specify: 21. +5 B

 

22. Calculate your monthly expenses.
22a. Add lines 4 through 21. za jg / 5 YO. O
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. $ LT
22c. Add line 22a and 22b. The result is your monthly expenses. 22. | g / ©: YS 0Q

 

 

 

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. § og? : 0 0

23b. Copy your monthly expenses from line 22c above. 23b.  —§ / 5 Y S, ° O00

 

23c. Subtract your monthly expenses from your monthly income. 455 P 0
The result is your monthly net income. 23c. $

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car joan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

L No. ; ,
C) Yes. Explain here: MAY be

Official Form 106J Schedule J: Your Expenses page 3

 
 

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Fill in this information to identify your case:

Debor1 Sie Syomuetfe

FirstName Middle Name Last Name Check if this is:

Debtor 2 .
(Spouse, if filing) First Name Last Name (J An amended filing

(J A supplement showing postpetition chapter 13
expenses as of the following date:

 

United States Bankruptcy Court for the: District of

Case number Lb-2 OF $F MM 7 DD/ YYYY

(If known)

 

 

Official Form 106J-2
Schedule J-2: Expenses for Separate Household of Debtor 2 1245

Use this form for Debtor 2’s separate household expenses ONLY IF Debtor 1 and Debtor 2 maintain separate households. /f Debtor 7 and
Debtor 2 have one or more dependents in common, list the dependents on both Schedule J and this form. Answer the questions on this form
only with respect to expenses for Debtor 2 that are not reported on Schedule J. Be as complete and accurate as possible. If more space is
needed, attach another sheet to this form. On the top of any additional! pages, write your name and case number (if known). Answer every
question.

 

Part 1: Describe Your Household

 

1. d and Debtor 1 maintain separate households?

No. Do not complete this form.

 

 

 

 

 

 

 

CL} = Yes
2. Do you have dependents?
¥ Pe L No Dependent’s relationship to Dependent’s Does dependent live

Do not list Debtor 1 but list all LJ Yes. Fill out this information for Debtor 2: age with you?

other dependents of Debtor 2 each dependent............02 2.

regardless of whether listed as a Cd No

dependent of Debtor 1 on QO Yes

Schedule J. g

Do not state the dependents’ Q ve

names. es
CJ No
C) Yes
C) No
C) Yes
C) No
Cl Yes

3. Do your expenses include OC No

expenses of peopie other than Q

yourself, your dependents, and Yes

Debtor 1? _

are Estimate Your Ongoing Monthly Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed.

Include expenses paid for with non-cash government assistance if you know the value of

 

 

such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses
4. The rental or home ownership expenses for your residence. Include first mortgage payments and IN
any rent for the ground or lot. 4. $

If not included in line 4:

 

 

 

4a. Real estate taxes 4a. $

4b. Property, homeowner's, or renters insurance Ab. $.

4c. Home maintenance, repair, and upkeep expenses Ac. $. y
4d. Homeowner's association or condominium dues 4d. $ | / V

Official Form 106J-2 Schedule J-2: Expenses for Separate Household of Debtor 2 page 1

 
 

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7

Debtor 1

11.

12.

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16.

17.

18.

19.

20.

First Name Middle Name Last Name

. Additional mortgage payments for your residence, such as home equity loans

Utilities:
6a. Electricity, heat, natural gas

6b. Water, sewer, garbage collection

6c. Telephone, cell phone, Internet, satellite, and cable services
6d. Other. Specify:

 

Food and housekeeping supplies

Childcare and children’s education costs
Clothing, laundry, and dry cleaning
Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books
Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

Installment or lease payments:
17a. Car payments for Vehicle 1

17b. Car payments for Vehicle 2
17c. Other. Specify:

 

17d. Other. Specify:

 

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule /, Your Income (Official Form 106i).

Other payments you make to support others who do not live with you.
Specify:

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Official Form 106J-2 Schedule J-2: Expenses for Separate Household of Debtor 2

6b.

6d.

10.

11.

12.

13.

14.

15a.
15b.
15¢c.

15d.

16.

17a.

17b.

17c.

17d.

18.

19.

20a.
20b.
20c.
20d.

20e.

Case number (7 mown, /é “LOPES

Your expenses

§.

Ff wm Hw

 

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A th

 

rH fF

AA Ff

FPA AF A HF

 

 

 

page 2

 
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Debtor 1 Mawtlee S yeu chhe Case number irmown _/ (6-A OP SS

First Name Middle Name

21. Other. Specify: 21. +*$

22. Your monthly expenses. Add lines 5 through 21. i

The result is the monthly expenses of Debtor 2. Copy the result to line 22b of Schedule J to calculate the
total expenses for Debtor 1 and Debtor 2. 22. $

 

23. Line not used on this form.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

LJ No.
QC) Yes. © Explain here:

Official Form 106J-2 Schedule J-2: Expenses for Separate Household of Debtor 2 page 3

 

 
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Fill in this information to identify your case:

Debtor 4 uae e Syatagd g

Last Name

First Name Miidle Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for neSeubfaeel District of FL -
Case number / b- Q2OF SP

(If known)

 

() Check if this is an

 

 

amended filing

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42/15

 

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

BW no

U2 Yes. Name of person . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 419).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

x x

 

Signature of Debtor 1 ~ Signature of Debtor 2
Date OY Of. ‘4 Date
MMi DD YYYY MM/ OD / YYYY

Official Form 106Dec Declaration About an Individual Debtor’s Schedules

 

 

 
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Fill in this information to identify your case:

Debtor1  Miywiee Syatoal he

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Soublhaces District of EZ c
Case number Lb- BOWED

(If known) Cl Check if this is an
amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 

Give Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?

 

 

 

 

 

 

 

 

 

 

 

 

 

woe
Not married
2. we the last 3 years, have you lived anywhere other than where you live now?
No
LI) Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
Debtor 1: Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there
L) same as Debtor 1 LL) same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code
LJ same as Debtor 1 UL) Same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code
3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
No

LJ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

irises, Explain the Sources of Your Income
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

 
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Syyourhe
(ait hiame

Debtor 1

Middle Name

Case number (tnown), / 6 -a 0 g 69

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?

Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

No
(J Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:
(January 1 to December 31, )
YYYY

For the calendar year before that:
(January 1 to December 31, )
YYYY

Sources of income
Check alli that apply.

a Wages, commissions,
bonuses, tips

Q Operating a business

Q Wages, commissions,
bonuses, tips

Q) Operating a business

QQ Wages, commissions,
bonuses, tips

Q Operating a business

Gross income

(before deductions and
exclusions)

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardiess of whether that income is taxable. Examples of ofher income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. {f you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

Sources of income
Check all that apply.

Q Wages, commissions,
bonuses, tips

Q Operating a business

Q Wages, commissions,
bonuses, tips

OQ Operating a business

a Wages, commissions,
bonuses, tips

Q Operating a business

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

UW No

LU) Yes. Fill in the details.

 

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:
(January 1 to December 31, )

3

For the calendar year before that:

(January 1 to December 31, )
YYYY

Official Form 107

Sources of income
Describe below.

Gross income from
each source

(before deductions and
exclusions)

Sources of income
Describe below.

 

 

 

 

 

 

Statement of Financial Affairs for Individuals Filing for Bankruptcy

 

Gross Income

(before deductions and
exclusions)

Gross income from
each source

(before deductions and

exclusions)

page 2

 

 

 
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Debtor 1 Lhe saad Nan Soule Case number (7 known) / 6-209 oo

st Name

List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

W no. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
rf No. Go to line 7.
() Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the

| total amount you paid that creditor. Do not include payments for domestic support obligations, such as
| child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

() Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

|
|
| L) No. Go to line 7.
|
L) Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

payment

 

 

$ $ L) Mortgage
Q) Car

| Number Street Q) Credit card

Dates of Total amount paid Amount you still owe Was this payment for...
Creditors Name

 

a Loan repayment

 

Q Suppliers or vendors

 

City State ZIP Code L) other

 

$ § Cy Mortgage
Q Car

UI] credit card

 

Creditor's Name

 

Number Street
C) Loan repayment

 

C) Suppliers or vendors

 

 

 

. C) other
City State ZIP Code
$ $ L) mortgage
Creditor's Name
C) car
CJ credit card

 

Number Street
(] Loan repayment

 

i} Suppliers or vendors

) other

 

City State ZIP Code

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3

 
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Debtor 1 ; Ds Case number (known), L b A OFSS

First Name Middle Name Last Name

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner,
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

 

 

 

 

 

No
() Yes. List all payments to an insider.
Dates of Total amount Amount you still Reason for this payment
payment paid owe
$ $
Insider's Name
Number Street
City State ZIP Code
$. $
insider's Name

 

Number Street

 

 

City State ZIP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

include payments on debts guaranteed or cosigned by an insider.

 

 

 

 

 

No
C) Yes. List all payments that benefited an insider.
Dates of Total amount Amount you still Reason for this payment
payment paid owe Include creditor's name
$ 3
Insider's Name
Number Street
City State ZIP Code
$ $

 

 

Insider's Name

 

Number Street

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4

 
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yuncg

irst Name

Debtor 1
Middle Name

Case number ¢f known) LE-2B PSH

Ey Identify Legal Actions, Repossessions, and Foreclosures
9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?

List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,

and contract disputes.

ve
Yes. Fill in the details.

Lawcut
Case number L J ~Cy¥-ATOLG Heke

 

 

 

“Gad Inenal ape oy df ed State ky Luchit lurf Status of the case
iV Lew sy: Mr, une My
Case title Dishriod Couct thie Fi nud, Orenge f, Lee Mirkot oF Fhovita ) Pending
[eriey, ys u, dest nite On appeal
~ 100 [VV Yhgmj AVG
Matar prone ek, wo Street Q) Concluded
Rom LL. BUAEF
City State ZIP Code

Case title / | PA.

 

Case number 3 DIS- 1o7d

ate Ted defied Cort
OF pypanl oF Flori

A vending

 

 

 

Court Name

2001 Sw 4/7" AUK C1 on apnea
Number Street ) Concluded
Mirnm( — FAl- 33/76- 106

City State ZIP Code

10. Within 14 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied? +

Check all that apply and fill in the details below.

r Go to line 11.
Yes. Fill in the information below.

-37h0 ME Soe

Number Street

 

ea: FLED

° State ae Code |

SAC V;

reditors Name

Kgss Shu let, LA “

Number Street

L506 1. Fhente AVE.
Tampa Fl 3Z60a

State ZIP Code

Official Form 107

Statement of Financial Affairs for individuals Filing for Bankruptcy

Describe the property Date Value of the property
Tio Shoey & (Bkvim (hesk
sit pth, Summing fook NL [15 5

acems Faw uppehy

Explain what happened

L) Property was repossessed.
Property was foreclosed.
L) Property was garnished.

Q Property was attached, seized, or levied.

Date Value of the property

 

Describe the property
IYI ¢
7 ¢
Explain what happened
aald was repossessed.
Property was foreclosed.

Property was garnished.
UL] Property was attached, seized, or levied.

page 5

 

 

 

 

 
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Debtor 1 Wie Seauele Case number (irom _/ 6-40 PSF

rst Na Middle Name 7 LastName

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financia! institution, set off any amounts from your
~ or refuse to make a payment because you owed a debt?
No

CL) Yes. Fill in the details.

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditor's Name
Number Street $
City State ZIP Code Last 4 digits of account number: XXXX—

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

No
U Yes

re Certain Gifts and Contributions

“y. 2 years before you filed for bankruptcy, did you give anj gifts with a total value of more than $600 per person?

No
CJ} Yes. Fill in the details for each gift.

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave the Gift
$
Number Street
City State ZIP Code
Person’s relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per peraon . / / the gifts
$
Person to Whom You Gave the Gift
$

 

 

Number Street

 

City State ZIP Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

 
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Debtor 1 C ) Case number (if known), Lb- HO? SS

First Name Middle Name Last Name

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

No
LJ Yes. Fill in the details for each gift or contribution.

 

 

Gifts or contributions to charities Describe what you contributed Date you Vaiue
that total more than $600 contributed
_ ee $
Charity's Name
$

 

Number Street

 

City State ZIP Code

tee Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

No
LD Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
how the loss occurred . oo a lost

Inciude the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

aa List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
v any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

N

0
CJ Yes. Fill in the details.

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
: Person Who Was Paid , made
Number Street $
$

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

 

 
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Debtor 4 A Case number ¢iown) A b-2O9EF

st Narne Middle Name Last Na

 

 

Description and value of any property transferred Date payment or Amount of
transfer was made payment

 

Person Who Was Paid

 

Number Street

 

 

City State ZIP Code

 

Email or website address

 

} Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

Wve

:  (Q Yes. Fill in the details.

 

 

 

Description and value of any property transferred Date payment or Amount of payment
tranefer was
made
Person Who Was Paid
i
Number Street s
$

 

City State ZIP Code

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Wn include gifts and transfers that you have already listed on this statement.
No
CQ) Yes. Fill in the details.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

Person’s relationship to you

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

Person’s relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

 

 

 
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Debtor 1 eye? Sree Case number (itknown At 4 DOL? S

irst Name Middie Name (fiast Name

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

No
) Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name of trust

 

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 

| 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
‘ closed, sold, moved, or transferred?

i include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
... houses, pension funds, cooperatives, associations, and other financial institutions.

No
Q] Yes. Fill in the details.

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, _ closing or transfer
or transferred
Name of Financial Institution
XXXX_ C) checking $
QO) Savings

Number Street
QO Money market

 

QO Brokerage
City State ZIP Code O) other

 

 

XXXM (3 checking $
Q Savings

 

Name of Financial Institution

 

Number Street Q Money market

Q Brokerage
OQ Other.

 

 

: City State ZIP Code

: 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for

 

 

 

 

 

 

 

 

securities, cash, or other valuables?
QO No
C) Yes. Fill in the details.
Who else had access to It? Describe the contents Do you still
have it?
QQ) No
Name of Financia! Institution Name Q) Yes
Number Street Number Street
City State ZIP Code
City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9

 

 
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Debtor 1 th Case number (known) ZL h A xD

Name Middle Name ame

22. we stored property in a storage unit or piace other than your home within 1 year before you filed for bankruptcy?
No
C2 Yes. Fill in the details.

 

 

 

City State ZIP Code

Who else has or had access to It? Describe the contents Do you still
have it?
CI No
i Name of Storage Facility Name QO Yes
i Number Street Number Street
j
:

 

} City State ZIP Gode

identify Property You Hold or Control for Someone Else

 

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
i in trust for someone.
No
C2 Yes. Fill in the details.

i
!
i

Where is the property? Describe the property Value

 

i Owner's Name $

 

Number Street

 

Number Street

 

 

 

City State ZIP Code

 

City State ZIP Code

Cron Detalis About Environmental Information

 

For the purpose of Part 10, the following definitions apply:

= Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

u Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

= Hazardous material means anything an environmental! law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report ail notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

wo

Cl Yes. Fill in the details.

 

 

 

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street
City Stete ZIP Code

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10

 
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Debtor 1 Meuuce = Saco Case number ¢rinown / A “of OF &F

le Name 7 \astName =~

25. Have you notified any governmental unit of any release of hazardous material?

 

 

 

No
Q Yes. Fill in the details.
Governmental unit Environmental law, if you know It Date of notice

}

: Name of site Governmental unit _
' Number Street Number Street
> i
i :
City State ZIP Code

 

 

City State ZIP Code

”, you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

No
() Yes. Fill in the details.

 

 

 

 

 

Court or agency Nature of the case Sa tatus of the
Case title.
Gomi Name QO Pending
QO on appeal
Number Street CO} conctuded
Case number City State ZIP Code

part at: OS Detalles About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
CG) Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
{2 A member of a limited liability company (LLC) or limited liability partnership (LLP)
Q A partner in a partnership
QQ An officer, director, or managing executive of a corporation

 

CJ An owner of at least 5% of the voting or equity securities of a corporation

No. None of the above applies. Go to Part 12.
() Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Employer identification number
_ Do not include Social Security number or ITIN.

 

 

a
2
'

 

 

Number Street
} Name of accountant or bookkeeper Dates business existed
From To
City State ZIP Code
i Describe the nature of the business Employer identification number

/ ; Do not inciude Social Security number or ITIN.

Business Name

 

 

 

 

City State ZIP Code

 

i EIN: oo  -_L
( Number Street

| Name of accountant or bookkeeper Dates business existed

|

| From __s«ésT'/O

|

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy : page 11

 
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Debtor 1 Lipo Wp Siac Case number (i known) L, fy “2O. e OF

Middle Name 7 LastName ~~

 

 

 

 

|

i

Describe the nature of the business Employer Identification number

i . Do not include Social Security number or ITIN.

| Business Name :

i EIN:
t .

Number Street Name of accountant or bookkeeper Dates business existed

From To

j

City State ZIP Code

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

| Who

C) Yes. Fill in the details below.

Date issued

 

Name MM /DD/YYYY

 

Number Street

 

 

City State ZIP Code

 

 

ES -
i { have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud

in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

“ x

: Signature of Debtor 1 Signature of Debtor 2

Date L: / , 6 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

GW No

i Q) Yes

 

Ye pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No

(J Yes. Name of person . Attach the Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (Official Form 119).

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12

 
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SOUTHERN DISTRICT OF FLORIDA
www. fisb.uscourts.gov

In re: CaseNo. /¢ - 209 54
Chapter P A I D
at
Jake Jneritbocrser /

DEBTOR’S NOTICE OF COMPLIANCE WITH REQUIREMENTS FOR AMENDING
CREDITOR INFORMATION

This notice is being filed in accordance with Local Rules 1007-2(B), 1009-1 (D), or 1019-1(B) upon the filing of an amendment
to the debtor's lists, schedules or statements, pursuant to Bankruptcy Rules 1007, 1009, 1019 or 5010-1(B). | certify that:

a The paper filed adds creditor(s) as reflected on the attached list (include name and address of each creditor being

added). | have:

1. remitted the required fee (unless the paper is a Bankruptcy Rule 1019(5) report);

2. provided the court with a supplemental matrix of only the added creditors on a CD or memory stick in
electronic text format (ASCII or MS-DOS text), or electronically uploaded the added creditors in CM/ECF;

3. provided notice to affected parties, including service of a copy of this notice and
a copy of the §341 or post conversion meeting notice [see Local Rule 1009-1(D)(2)] and filed a certificate of
service in compliance with the court [see Local Rule 2002-1 (F));

4. filed an amended schedule(s) and summary of schedules; and

5. filed a motion to reopen accompanied by the required filing fee (if adding creditors pursuant to Local Rule
5010-1(B)).

 

{ ] The paper filed deletes a creditor(s) as reflected on the attached list (include name and address of each
creditor being deleted). | have:
1. remitted the required fee;
2. provided notice to affected parties and filed a certificate of service in compliance with the court [see
Local Rule 2002-1(F)]; and
3. filed an amended schedule(s) and summary of schedules.

{ ] The paper filed corrects the name and/or address of a creditor(s) as reflected on the attached list. | have:
1. provided notice to affected parties, including service of a copy of this notice and a copy of
the §341 or post conversion meeting notice [see Local Rule 1009-1(D)(2)] and filed a certificate of service
in compliance with the court [see Local Rule 2002-1(F)]; and
2. filed an amended schedule(s) or other paper.

[ ] The paper filed corrects schedule D or E/F amount(s) or classification(s). I have:
4. remitted the required fee;
2. provided notice to affected parties and filed a certificate of service in compliance with the court [see Local
Rule 2002-1(F)]; and
3. filed an amended schedule(s) and summary of schedules.

[] None of the above apply. The paper filed does not require an additional fee, a supplemental matrix, or notice to
affected parties. It p does 0 does not require the filing of an amended schedule and summary of schedules. a

| also certify that, if filing amended schedules, Bankruptcy Form 106 “Declaration About an Individual Debtor's Schedules”
(signed by both debtors) or Bankruptcy Form 202 , “Declaration Under Penalty of Perjury for Non-Individual Debtors" hai:

 

 

 

 

 

 

been filed as required by Local Rules 1007-2(B), 1009- -1(A)(2) and (D)(1), or 1019-1(B). 2 :
4
Dated: =
uy
Attorney for Debtor (or Debtor, if pro se) Joint Debtor (if applicable) A
=
Print Name Address iz
Florida Bar Number Phone Number

LF-4 (rev. 12/01/15)

 
